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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                   Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                   Case No. 19-34054 (SGJ)
            Reorganized Debtor.         )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                  Plaintiff,            )
vs.                                     )                                   Adv. Pro. No. 21-03005 (SGJ)
                                        )
NEXPOINT ADVISORS, L.P., JAMES DONDERO, )
NANCY DONDERO, AND THE DUGABOY )
INVESTMENT TRUST,                       )
                                        )
                 Defendants.            )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On October 4, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:




                                          (Continued on Next Page)




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Plaintiff's Notice of Rule 30(b)(6) Deposition to NexPoint Advisors, L.P. [Docket
       No. 79]


Dated: October 7, 2021
                                              /s/ Aljaira Duarte
                                              Aljaira Duarte
                                              KCC
                                              222 N Pacific Coast Highway, Suite 300
                                              El Segundo, CA 90245




                                             2
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                             EXHIBIT A
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                                                                 Exhibit A
                                                           Adversary Service List
                                                          Served via Electronic Mail


             Description                     CreditorName                 CreditorNoticeName                             Email
                                                                                                        john@bondsellis.com;
                                                                                                        john.wilson@bondsellis.com;
                                                                  John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                    Bonds Ellis Eppich Schafer    IV, Bryan C. Assink, Clay M. Taylor, clay.taylor@bondsellis.com;
 Counsel for James Dondero          Jones LLP                     William R. Howell, Jr.                william.howell@bondsellis.com
 Financial Advisor to Official                                    Earnestiena Cheng, Daniel H           Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors   FTI Consulting                O'Brien                               Daniel.H.O'Brien@fticonsulting.com
 Counsel for Nancy Dondero          Greenberg Traurig, LLP        Daniel P. Elms                        elmsd@gtlaw.com
                                                                  Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
 Counsel for the Debtor             Hayward & Associates PLLC Annable                                   ZAnnable@HaywardFirm.com
                                                                                                        ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment                               Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
 Trust and Get Good Trust           Heller, Draper & Horn, L.L.C. Greta M. Brouphy                      gbrouphy@hellerdraper.com
 Counsel for UBS Securities LLC and                                                                     andrew.clubok@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Andrew Clubok, Sarah Tomkowiak sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                                                     asif.attarwala@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Asif Attarwala, Kathryn K. George     Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                                                     jeff.bjork@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Jeffrey E. Bjork, Kimberly A. Posin kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                     Zachary.Proulx@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine         Jamie.Wine@lw.com
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint    Munsch Hardt Kopf & Harr,     Davor Rukavina, Esq., Julian P.       drukavina@munsch.com;
 Capital Inc.                       P.C.                          Vasek, Esq.                           jvasek@munsch.com
                                                                                                        mclemente@sidley.com;
                                                                  Matthew Clemente, Alyssa Russell, alyssa.russell@sidley.com;
 Counsel for Official Committee of                                Elliot A. Bromagen, Dennis M.         ebromagen@sidley.com;
 Unsecured Creditors                Sidley Austin LLP             Twomey                                dtwomey@sidley.com
                                                                                                        preid@sidley.com;
                                                                  Penny P. Reid, Paige Holden           pmontgomery@sidley.com;
 Counsel for Official Committee of                                Montgomery, Juliana Hoffman,          jhoffman@sidley.com;
 Unsecured Creditors                Sidley Austin LLP             Chandler M. Rognes                    crognes@sidley.com
 Counsel for Defendants James                                     Deborah Deitsch-Perez, Michael P. deborah.deitschperez@stinson.com;
 Dondero and Nancy Dondero          Stinson LLP                   Aigen                                 michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                                 Exhibit B
                                                                           Adversary Service List
                                                                         Served via First Class Mail


             Description                    CreditorName               CreditorNoticeName                   Address1                Address2       City      State    Zip
                                                                   John Y. Bonds, III, John T.
                                                                   Wilson, IV, Bryan C. Assink,
                                     Bonds Ellis Eppich Schafer    Clay M. Taylor, William R.      420 Throckmorton Street,
Counsel for James Dondero            Jones LLP                     Howell, Jr.                     Suite 1000                                  Fort Worth    TX      76102
                                                                                                   2200 Ross Avenue, Suite
Counsel for Nancy Dondero            Greenberg Traurig, LLP        Daniel P. Elms                  5200                                        Dallas        TX      75201
Counsel for the Dugaboy Investment                                 Douglas S. Draper, Leslie A.    650 Poydras Street, Suite
Trust and Get Good Trust             Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy       2500                                        New Orleans LA        70130
Counsel for UBS Securities LLC and                                 Andrew Clubok, Sarah            555 Eleventh Street, NW,
UBS AG London Branch                 Latham & Watkins LLP          Tomkowiak                       Suite 1000                                  Washington    DC      20004
Counsel for UBS Securities LLC and                                 Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
UBS AG London Branch                 Latham & Watkins LLP          George                          Ste. 2800                                   Chicago       IL      60611
Counsel for UBS Securities LLC and                                 Jeffrey E. Bjork, Kimberly A.
UBS AG London Branch                 Latham & Watkins LLP          Posin                           355 S. Grand Ave., Ste. 100                 Los Angeles   CA      90071
Counsel for UBS Securities LLC and                                 Zachary F. Proulx, Jamie
UBS AG London Branch                 Latham & Watkins LLP          Wine                            1271 Avenue of the Americas                 New York      NY      10020
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,     Davor Rukavina, Esq., Julian                                   500 N. Akard
Capital Inc.                         P.C.                          P. Vasek, Esq.                  3800 Ross Tower                Street       Dallas        TX      75202
Counsel for Defendants James                                       Deborah Deitsch-Perez,          3102 Oak Lawn Avenue,
Dondero and Nancy Dondero            Stinson LLP                   Michael P. Aigen                Suite 777                                   Dallas        TX      75219




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